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 4
     Attorney for Defendant
 5
     MICHAEL LEONARD LOVATO
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR-S-10-437-WBS
 9
                                                      )
                                                      )
10          Plaintiff,                                )       STIPULATION AND
                                                      )       ORDER TO CONTINUE SENTENCING
11
     v.                                               )
                                                      )       Date: March 18, 2013
12
     MICHAEL LEONARD LOVATO,                          )       Time: 9:30 a.m.
                                                      )       Judge: Honorable William B. Shubb
13
                                                      )
            Defendant.                                )
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                                                      )
                                                      )
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                                                      )
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            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19
     Michael Leonard Lovato, John R. Manning, Esq., that the sentencing presently set for March 4,

20
     2013 be continued to March 18, 2013 at 9:30 a.m., thus vacating the presently set sentencing

21
     date. The continuance is needed to allow the parties additional time to prepare and submit

22
     documents relevant to sentencing to the court.

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24
     IT IS SO STIPULATED.
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26   Dated: February 28, 2013                                          /s/ John R. Manning
                                                                      JOHN R. MANNING
27
                                                                      Attorney for Defendant
28                                                                    Michael Leonard Lovato



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 1

 2
     Dated: February 28, 2013                          Benjamin B. Wagner
 3                                                     United States Attorney
 4
                                                 by:   /s/ Jill M. Thomas
 5                                                     JILL M. THOMAS
                                                       Assistant U.S. Attorney
 6
                                          ORDER
 7

 8         IT IS SO FOUND AND ORDERED this 27th day of February, 2013.
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